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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

PETERSEN ENERGÍA INVERSORA,
S.A.U. AND PETERSEN ENERGÍA,
S.A.U.,

                    Plaintiffs,               15 Civ. 2739 (LAP)

-against-

ARGENTINE REPUBLIC AND YPF
S.A.,

                    Defendants.

ETON PARK CAPITAL MANAGEMENT,
L.P. et al.,

                    Plaintiffs,
                                              16 Civ. 8569 (LAP)
-against-
                                                     ORDER
ARGENTINE REPUBLIC and YPF
S.A.,

                    Defendants.

LORETTA A. PRESKA, Senior United States District Judge:

    The Court is in receipt of letters from counsel to

Defendant (dkt. no. 240 in 15-cv-2739) and Plaintiffs (dkt. no.

241 in 15-cv-2739).    Counsel for the Republic shall provide any

response to Plaintiffs’ letter no later than December 21, 2020.

    Counsel shall appear by telephone for a conference on

December 22, 2020 at 10:00 a.m.         The dial-in for that

conference is (888) 363-4734, access code: 4645450.




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    SO ORDERED.

Dated:       New York, New York
             December 18, 2020

                               __________________________________
                               LORETTA A. PRESKA
                               Senior United States District Judge




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